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                                                                               Exhibit 1
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   Redacted
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             Redacted
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                                                                                f    RNd
    Redacted
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     Redacted
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  CHRYSLER GROUP LLC - EMPLOYEE DISPUTE RESOLUTION PROCESS

    PURPOSE

This Employee Dispute Resolution Process (“EDRP”) provides a fair, timely, and impartial method
to resolve employment disputes of eligible employees of Chrysler Group LLC, its subsidiaries and
affiliates (“Chrysler Group LLC”). This process provides the exclusive, final and binding method to
resolve disputes covered under the EDRP.

    SCOPE

Employee:                   The EDRP applies to any current and former employee, applicant for
                            employment, Service Agreement Worker, or any other person that
                            expressly agrees to be bound by the EDRP, but does not include
                            supplemental workers, temporary employees and bargaining unit
                            employees. The use of the term “employee” or “eligible employee” in
                            this EDRP shall not be deemed to create an employment relationship
                            between Chrysler Group LLC and any other person or entity.

Covered Disputes:           The EDRP applies to any disputes arising out of or relating to the eligible
                            employee’s employment with, or application with, Chrysler Group LLC,
                            except for those disputes expressly “excluded” below. Some examples of
                            Covered Disputes include but are not limited to:

                            −   Refusal/failure to hire
                            −   Termination of employment, including constructive discharge
                            −   Layoff, including disciplinary layoff
                            −   Demotion
                            −   Refusal to promote
                            −   Disability accommodation
                            −   Harassment and/or discrimination based upon sex, age, race,
                                national origin, disability, or any other legally protected class
                            −   Compensation
                            −   Leaves of absence provided by law
                            −   Retaliation claims for legally protected activity and/or
                                whistleblowing

Excluded Disputes:          The EDRP is not available to resolve disputes:

                            (1) That relate to Workers’ Compensation or unemployment benefits;
                            (2) That cannot be subjected to mandatory arbitration; and
                            (3) For benefits under a Company benefit plan covered by the
                            Employment Retirement Income Security Act of 1974 (“ERISA”) or any
                            other claims covered by ERISA.

    PROCESS

Informal Review:          An employee who wants to resolve a Covered Dispute is encouraged to
                          discuss the dispute with his/her immediate supervisor or others in the
                          management chain before initiating a written complaint to resolve the
                          dispute under this EDRP.

Local Review:             Regardless of whether an employee uses an informal review, an
                          employee must, within 180 calendar days of the employment action
                          giving rise to the Covered Dispute:




                                                                                             Exhibit 1-E
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                                                                          1
                        ●   Complete and sign Part A of the EDRP Form
                        ●   Submit Part A to the employee’s immediate supervisor with a copy
                            to the local Human Resources Office

                        Within 20 calendar days of the receipt of Part A, the employee’s
                        immediate supervisor will:

                        ●   Review the circumstances and desired resolution with the next
                            level(s) of management
                        ●   Provide a written response to the employee by completing Part B
                            with a copy to the local Human Resources Office; the next level of
                            management must concur with the response. Additionally, the
                            Group Human Resources Office must concur in the modification of
                            any disciplinary action

Corporate Review:       To pursue the Covered Dispute beyond Local Review, the employee
                        must, within 20 calendar days of receipt of Part B:

                        ●   Complete and sign Part C
                        ●   Submit Part C to the Corporate Diversity Office

                        The Corporate Diversity Office will within 30 calendar days after receipt
                        of Part C:

                        ●   Review the circumstances and desired resolutions with appropriate
                            senior management
                        ●   Provide a written response to the employee by completing Part D
                            with a copy to the Supervisor and the appropriate Human Resources
                            Office

Arbitration:            If the employee wants to pursue the Covered Dispute beyond the
                        Corporate Review, the employee must submit the claim for final binding
                        confidential arbitration, within 20 calendar days of receipt of Part D,
                        by:

                        ●   Completing and signing Part E
                        ●   Submitting Part E to the American Arbitration Association (AAA) at
                            the address indicated on the form

                        The AAA will administer the arbitration proceeding consistent with its
                        rules governing labor arbitrations, unless otherwise provided in the
                        EDRP Arbitration Procedure attached hereto. If there is any conflict
                        between the terms of the EDRP Arbitration Procedure and AAA's rules
                        governing labor arbitrations, the terms of the EDRP Arbitration
                        Procedure will prevail. See Attachment 2 for the EDRP Arbitration
                        Procedure.

Sexual Harassment:      Chrysler Group LLC Policy 3-6 provides an alternative method for
                        resolving sexual harassment allegations. If an employee chooses to
                        resolve an allegation of sexual harassment under Policy 3-6:



1
  Attachment 1 is the EDRP Form that must be used under the EDRP. The form has five parts,
referred to as Parts A – E, and is available in the local Human Resources Office.


                                                  2

                                                                                        Exhibit 1-E
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                           ●   The employee is not required to proceed under the Local Review
                               and Corporate Review levels of this EDRP.
                           ●   If, however, the employee wants to pursue the allegation beyond the
                               Policy 3-6 investigation, the employee must pursue arbitration under
                               this EDRP.

    TIME REQUIREMENTS

The time requirements set forth in the EDRP are strictly enforced and may be extended only
by a written, mutual agreement between the employee and the Human Resources Office. If either
Part C or Part E is not submitted on a timely basis, the dispute shall be considered resolved on the
basis of the last answer and is not subject to further review or arbitration.

If either Part B or Part D is not returned to the employee on a timely basis, the employee may
immediately proceed to the next level of the process in accordance with the time requirements set
forth above.

    RETALIATION PROHIBITED

Retaliation against any employee, who in good faith, uses or otherwise participates in the EDRP is
strictly prohibited. Any concern that retaliation has occurred must be promptly reported to the
employee’s supervisor, local HR representative, or other member in the management chain.

    EXCLUSIVE REMEDY AND INDIVIDUAL NATURE OF COVERED CLAIMS

The EDRP provides the exclusive, final and binding method to resolve Covered Disputes. The
scope of this EDRP extends to all Covered Disputes whether based on federal, state or local law.

Covered Disputes under the EDRP must be brought on an individual basis. Neither Chrysler
Group LLC nor any employee may submit a class, collective, or representative action for resolution
under the EDRP. To the maximum extent permitted by law, and except where expressly prohibited
by law, arbitration on an individual basis pursuant to the EDRP is the exclusive remedy for any
Covered Dispute that may be brought on a class, collective or representative action basis.
Accordingly, an employee may not participate as a class or collective action representative or as a
member of any class, collective, or representative action, and will not be entitled to recovery from a
class, collective, or representative action in any forum. Any disputes concerning the validity of this
class, collective and representative action waiver will be decided by a court of competent
jurisdiction, not by the arbitrator.

    AT WILL STATUS

It is the policy of Chrysler Group LLC that all employment relationships are at will and may be
terminated by Chrysler Group LLC or by the employee at any time, with or without cause. This
EDRP does not change the at will policy.

    FILING WITH GOVERNMENT AGENCIES

Nothing in the EDRP is intended to discourage or interfere with an employee’s right to file an
administrative claim or charge with government agencies, such as the Equal Employment
Opportunity Commission, the U.S. Department of Labor, or National Labor Relations Board.


    MODIFICATION OF PROCESS




                                                     3

                                                                                            Exhibit 1-E
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The terms of the EDRP in effect at the time of the facts giving rise to the Covered Dispute are the
terms that will be binding on Chrysler Group LLC and the employee. Otherwise, the Company
reserves the right to change, modify, or discontinue the EDRP at any time upon prior written notice
to the affected employees.

This procedure may cover any employment dispute mutually agreed to by the employee and
his/her management, with final concurrence by the manager of the Corporate Diversity Office.

    SEVERABILITY

If any part or provision of the EDRP is held to be invalid, illegal, or unenforceable, such holding will
not affect the legality, validity, or enforceability of the remaining parts and each provision of the
EDRP will be valid, legal, and enforceable to fullest extent permitted by law.



Attachment 1 – EDRP Form
Attachment 2 – EDRP Arbitration Procedure




                                                       4

                                                                                              Exhibit 1-E
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                      CHRYSLER GROUP LLC
            EMPLOYEE DISPUTE RESOLUTION PROCESS FORM

PART A                  Dispute Notice
 Employee Name                                                               Title


 Loc. # and Dept. Name                                                       CIMS#                         Phone #


 Date of Incident                                                            Immediate Supervisor



 Was there an informal discussion of the incident with your supervisor?



 Thoroughly describe the dispute (use additional page(s) if needed)




 Desired Resolution




 Employee's Signature                                                                               Date



 NOTE:       Employee Will Submit PART A to Supervisor and a Copy to Local Human Resources 010cc.




                                                                        5

                                                                                                                     Exhibit 1-E
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 Part B                    Local Response
Date Supervisor Received PART A

Supervisory Response (Must be completed and returned within 20 calendar days of receipt)




  Supervisor's Signature                                           Date


  Next Level Concurring Signature                                                                Date

  NOTE: Supervisor Will Submit PART B to Employee and a Copy to Local Human Resources Office.



  PART C                   Employee Appeal For Corporate Review
   Date Employee Received PART B

   Appeal Of local response must be submitted within 20 calendar days of receipt of PART B.


   Additional Comments (Optional)




   Employee’s Signature                                                                           Date

   NOTE: Employee Will Submit PART C to Corporate Diversity Office, 1000 Chrysler Drive, CIMS# 485-08-10, Auburn Hills, MI 48326-2766,
   Fax: (248) 512-0638 and a Copy to Supervisor.



  PART D                   Corporate Response

  Date PART C Received For Corporate Review
  Corporate Response (must be completed and returned to employee within 30 calendar days)




                                                                      6

                                                                                                                Exhibit 1-E
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 Corporate Signature                                                                                               Date



 NOTE:        Corporate Reviewer Will Submit PART D to Employee and COPY TO Supervisor and Appropriate Human Resources Office.



PART E                 Employee Appeal for Arbitration
Date Employee Received PART D
Arbitration request must be completed and mailed to the American Arbitration Association within 20 calendar days of receipt of PART D.

Additional Comments (Optional)




Employee’s Signature                                                                                   Date



NOTE:      Employee Will Mail Complete Form to Address Below.



  EMPLOYEE CONTACT INFORMATION:                                              Mail To:
  Full Name                                                                  American Arbitration Association

  Home Address:                                                              1101 Laurel Oak Road, Suite 100

                                                                             Voorhees, NJ 08043

  Phone # (       )                                                          Fax # 877-304-8457




                                                                       7

                                                                                                                            Exhibit 1-E
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             CHRYSLER GROUP LLC - EDRP ARBITRATION PROCEDURE

                      1.        American Arbitration Association (AAA) Procedure

    Any Covered Disputes that remain unresolved will proceed to confidential and binding arbitration. AAA will
    administer the arbitration proceeding consistent with its rules governing labor arbitrations, unless otherwise
    provided in this EDRP Arbitration Procedure (“Procedure”). If there is any conflict between the terms of
    the Procedure and AAA's rules governing labor arbitrations, the terms of this Procedure will prevail.


                      2.        P re He ar i ng E xc ha nge of I nfor ma ti on

    Within 14 calendar days after AAA assigns an Arbitrator to resolve the dispute(s) covered under the
    EDRP, the employee and a Company representative will meet to discuss exchanging information before
    the hearing.2 If the employee and Company representative cannot agree on the information to be
    exchanged, the Arbitrator may rule on the issue. The Arbitrator shall consider both the need to
    provide a full and fair consideration of the relevant and material facts of the dispute and the need to
    provide a relatively inexpensive and expeditious method to resolve the dispute.

    Unless otherwise ordered by the Arbitrator, the employee and the Company will each be entitled
    to take the following discovery:

      •    Depositions: A deposition is sworn testimony that is transcribed by a court reporter. The
           cost for the deposition will be paid by the party requesting it. Each party may take the
           deposition of two persons whose testimony is relevant to the dispute


      •    Interrogatories: Interrogatories are written questions that must be answered by the
           responding party under oath, so long as it is relevant to the dispute. Each party may
           submit up to 20 written questions. Responses and objections must be served on the
           inquiring party within 30 calendar days of receipt of the request.


      •    Document Requests: Each party may serve up to 15 requests for documents or things.
           Responses and objections must be served on the inquiring party within 30 calendar days of
           receipt of the request.


    The Arbitrator will not have the authority to order the deposition of any Director or Officer of the
    Company unless the Arbitrator determines that no other person could testify about the subject
    matter. The Arbitrator will have the authority to resolve all other discovery-related matters, except
    as prohibited under this Procedure.


                      3.        PreHearing Dismissal of Claim

    The Arbitrator is authorized, prior to a hearing, to render a special opinion and award
    disposing of the dispute, or a portion of the dispute. The Arbitrator will do so only if the
    Arbitrator determines that there are no factual issues requiring a hearing and that the
    Company is entitled to an award in its favor.




2
    The term “Company” or Chrysler Group LLC refers to Chrysler Group LLC, its subsidiaries and affiliates.


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                                                                                                       Exhibit 1-E
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For example, if an employee makes a claim that his/her separation breached an express or
implied contract of emplo yment, th at dispute could be dismissed without a hearing
because it was inconsistent with the Company's At W ill employment policy (unless the
Arbitrator determines that the Company's At W ill policy does not apply).

If the Company wants the Arbitrator to dispose of the claim without a hearing, it must serve
a written request on both the Arbitrator and the employee, and the employee will have the right
to file a written response.

                   4.      Transcript of Proceedings

Either the employee or the Company may request that a transcript be made of the arbitration
proceeding. Whoever requests the transcript will be responsible for its cost unless the other party also
requests a copy of the transcript, in which case each party will be responsible for paying one-half of the
cost of the transcript.

                    5.      Arbitrator’s Authority

The Arbitrator's authority is limited to deciding whether the challenged personnel decision or action
was (1) lawful under applicable federal, state and local law, or (2) consistent with the Company's At Will
employment policy. The Arbitrator also shall have authority to determine issues of timeliness of the
Covered Dispute(s).

The Arbitrator must consider and rule on every issue, within the scope of the Arbitrator's authority, which was
specified on the EDRP Form or raised at the arbitration hearing.

In reaching a decision, the Arbitrator will interpret, apply and be bound by any applicable Company
policies and procedures and by applicable federal, state or local law. The Arbitrator has no authority,
however, to (1) add to, detract from, or otherwise modify any law, policy or procedure in any respect, (2)
decide any matters that are within the sole discretion of the Company in the management and conduct of
its business, or (3) decide any dispute that is based upon a claim that an employee is eligible to receive
benefits under any Company employee benefit plan or fringe benefit program.

                     6.      Relief

If the Arbitrator finds that the employee has not proven that he/she was unlawfully discriminated against, or
that the Company did not breach the terms of an alleged employment agreement, the Arbitrator must
enter an award in favor of the Company.

If the Arbitrator finds that the employee has proven that he/she was unlawfully discriminated against, or that
the Company did breach the terms of an alleged employment agreement, the Arbitrator may award
any remedy or relief that a court could grant, except as provided in this Procedure.

To the maximum extent permitted by the applicable law, if the Arbitrator awards back pay,
the Arbitrator must deduct from the award the employee's interim earnings and any other
sums paid in lieu of employment during the period covered by the back pay award, such as
unemployment co mpe nsation or wo rkers compe nsation payments. The Arbitrator must
also determine if the employee failed to mitigate his/her damages. If the Arbitrato r
determines that an e mployee f ailed to mitigate h is/her damages, the Arb itrator must
reduce the da ma ges to t he extent permitted by t he applicable law. .




                   7.       Arbitrator’s Decision




                                                          9

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The Arbitrator will, within 30 calendar days after the close of the arbitration hearing, issue a signed written
decision and opinion. The decision will specify the relief awarded, if any, and the elements and basis for
any monetary award. The decision will include findings of fact and, if appropriate, conclusions of law.

The EDRP and proceedings under it will be governed by the Federal Arbitration Act and any applicable state
arbitration statute. The Arbitrator's award will be enforceable in a federal district court or state court.

The decision of the Arbitrator shall be final and binding. However, limited judicial review may be
obtained in a federal district court or state court in accordance with the legal standards for review of
arbitration awards.
                   8.        Arbitrator’s Fees

The Company will be responsible for paying the Arbitrator's fees and expenses of arbitration.

                   9.        Representation


Either party may be represented by an attorney or other representative at the arbitration level.

                   10.       Attorne ys and Other Fees


Neither party will be liable for the payment of expenses or fees of the other party including,
without limitation, attorney's fees and deposition costs except (1) if they are entitled to
attorney's fees or deposition costs under law or (2) if the arbitrator determines that the
employee's claim or the Company's defense of the employee's claim was frivolous.

                   11.       Effect of Court Decision


If a court determines that the EDRP is not the exclusive, final, and binding method for the
Company and its employees to resolve disputes and/or that the decision and award of the
Arbitrator is not final and binding as to some or all of the employee's claim, an employee must
pursue the EDRP to conclusion before filing, or pursuing, any legal, equitable, administrative, or
other formal proceeding for an eligible claim. In addition, if any provision of this EDRP is
determined by a court to be invalid or unenforceable, the validity, legality and enforceability of
the remaining provisions will not be affected by the determination, and each provision of this
EDRP will be valid, legal and enforceable to the fullest extent permitted by law.

                  12.        Exclusive Remedy


The EDRP provides the exclusive, final and binding method to resolve eligible employment
disputes. The scope of this EDRP extends to all eligible disputes whether based on federal, state or
local law, including breach of contract, discrimination or retaliation claims.

Disputes covered under the EDRP must be brought on an individual basis. Neither Chrysler
Group LLC nor any employee may submit a class, collective, or representative action for
resolution under the EDRP. To the maximum extent permitted by law, and except where
expressly prohibited by law, arbitration on an individual basis pursuant to the EDRP is the
exclusive remedy for any dispute that may be brought on a class, collective or representative
action basis. Accordingly, an employee may not participate as a class or collective action
representative or as a member of any class, collective, or representative action, and will not be
entitled to recovery from a class, collective, or representative action in any forum. Any disputes
concerning the validity of this class, collective and representative action waiver will be decided
by a court of competent jurisdiction, not by the arbitrator.




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                 13.          At Will Status


It is the policy of Chrysler Group LLC that all employment relationships are At Will and may be terminated
by Chrysler Group LLC or by the employee at any time, with or without cause. This Procedure does
not change this policy.




                14.        Modification of Process

 The terms of the Procedure in effect at the time of the facts giving rise to the arbitration are the
 terms that will be binding on Chrysler Group LLC and the employee. Otherwise, the Company
 reserves the right to change, modify, or discontinue the EDRP at any time upon prior written
 notice to the affected employees. This Procedure may cover any employment dispute mutually
 agreed to by the employee and his/her management, with final concurrence by the manager of
 the Corporate Diversity Office.




                                                       11

                                                                                                 Exhibit 1-E
